      Case 1:18-cv-00993-RA-SLC Document 319 Filed 11/23/22 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
ANNAMARIE TROMBETTA,
                          Plaintiff,
      -v-

NORB NOVOCIN, MARIE NOVOCIN, ESTATE
                                                       CIVIL ACTION NO.: 18 Civ. 993 (RA) (SLC)
AUCTIONS, INC., AND WORTHPOINT
CORPORATION,
                                                                           ORDER
                         Defendants.


SARAH L. CAVE, United States Magistrate Judge:

       Pursuant to the telephonic discovery conference held today, November 23, 2022 (the

“Conference”), the Court orders as follows:

           1. Defendants Norb Novocin, Marie Novocin, and Estate Auctions Inc. (together, the

              “EAI Defendants”) shall produce to pro se Plaintiff Annamarie Trombetta (“Ms.

              Trombetta”), the following:

                  a. the eBay receipt of the 2012 sale of the 1972 original oil painting, in the

                      native electronic format; and

                  b. documentation of the medium by which the transaction occurred (i.e.,

                      Paypal, credit card, check, etc.), to the extent such information exists.

           2. Defendant Worthpoint Corporation (“Worthpoint,” together with the EAI

              Defendants, the “Defendants”) shall produce to Ms. Trombetta the last known

              contact information for Greg Watkins and Anita Brooks.

           3. Ms. Trombetta’s request for EAI’s 2012 tax returns and information relating to its

              computer server is DENIED.
         Case 1:18-cv-00993-RA-SLC Document 319 Filed 11/23/22 Page 2 of 2




             4. As a result of Ms. Trombetta’s representations at the Conference concerning the

                 damages she is seeking in this action, Worthpoint’s requests for Ms. Trombetta’s

                 tax and medical records, and sales records from 2018 through 2021, are DENIED

                 WITHOUT PREJUDICE.

             5. Ms. Trombetta shall produce to Defendants, the following:

                     a. the February 20, 2016 email and attachments in native electronic format;

                         and

                     b. all communications Ms. Trombetta has had with any non-party witnesses

                         relevant to the claims or defenses in this action.

             6. The parties shall produce the documents set forth in this Order by no later than

                 December 2, 2022.

             7. Defendants shall order a transcript of the Conference and file it on the docket.

                 The parties shall submit a single request to: etranscripts@nysd.uscourts.gov by

                 Monday, November 28, 2022.

           The Clerk of Court is respectfully directed to mail a copy of this Order to Ms. Trombetta

at the address below.


Dated:           New York, New York                    SO ORDERED.
                 November 23, 2022

                                                       _________________________
                                                       SARAH L. CAVE
                                                       United States Magistrate Judge


Mail To:         Annamarie Trombetta
                 175 East 96th Street, Apt 12R
                 New York, New York 10128

                                                   2
